                         UNITED STATES DISTRICT COURT FOR THE
                         恥″ESTERN DISTRICT OF NORTH CAROLINA
                                  ASHEVILLE DIVISION
                                                                                      SEp I   I ZOn
UNITED STATES OF AMERICA                                 )    DOCKET NO.1:15CR85｀ 電思翼撃              R7
                                                         )                                     =習
                V.                                       )   ORDER
1)   AMES DEE BALL
     」
       ゴb/a D Ball
2) KELSIE MARIE BURCH
3) THERESA LORENE BURNS
4) ANNA MARIE POSTELL COCHRAN
5) THOMAS BART COCHRAN
        ゴWa Bart
6)JEREMIAH JEROME GIBBY
7) HOKE BENJAMIN CALEB HAYES
        a/Va Calcb
8) BRYAN KEITH JENKINS                          )
9) RAY CHAD LEQUIRE                         )
10)AMANDA BROOKE MCKININEY                      )
        a/k/a AInanda Parton
ll)ヽ41RANDA NATIONS
12)TAMMIE LYNIN PAYNE
13)BRANDILYNN SMITH
14)GttGORY DANIEL STEEDLY                            )
15)CAIN HAMILTON STRICKLAND                          )
16)SEBERN TODD WYATT                                )
                                                         )




        UPON MOTION of the United States of America, by and through .Iill Westmoreland Rose,

Acting United States Attomey for the Westem District of North Carolina, for an order directing that the

Indictment and Arrest Warrants in the above-captioned case be unsealed; and

        IT APPEARING TO THE COURT that there no longer exists any danger to the attendant
investigation in this case;




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       NOヽ ″
           ,THEREFORE,IT IS ORDERED that the Indictment and Arrest Warrants in the
above― captioned case be unsealed.


       Ths̲椰 讐day of Septcmber,2015.



                                        HONORABLE DENNIS L.HOWELL
                                        UoS.MAGISTRATE COURTJUDGE




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